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                                   Slip Op. 21-161

           UNITED STATES COURT OF INTERNATIONAL TRADE


 COLAKOGLU METALURJI A.S. AND
 COLAKOGLU DIS TICARET A.S.,

        Plaintiffs,

 v.
                                                  Before: Claire R. Kelly, Judge
 UNITED STATES,
                                                  Court No. 20-00153
        Defendant,

 and

 REBAR TRADE ACTION COALITION,

        Defendant-Intervenor.


                                     OPINION

[Denying plaintiffs’ motion for judgment on the agency record and sustaining
Commerce’s final results of its fourth administrative review of its countervailing duty
order covering steel concrete reinforcing bar from the Republic of Turkey.]

                                                             Dated: December 2, 2021

Jessica R. DiPietro, Arent Fox, LLP, of Washington, D.C. argued for Plaintiffs. Also
on the brief was Matthew M. Nolan.

Ann C. Motto, Trial Attorney, Civil Division, Commercial Litigation Branch, U.S.
Department of Justice, of Washington, D.C. argued for Defendant. Also on the brief
were Brian M. Boynton, Acting Assistant Attorney General, Jeanne E. Davidson,
Director, and L. Misha Preheim, Assistant Director. Of counsel on the brief was Reza
Karamloo, Senior Counsel, Office of the Chief Counsel for Trade Enforcement and
Compliance, U.S. Department of Commerce, of Washington, D.C.

Maureen E. Thorson, Wiley Rein LLP, of Washington, D.C. argued for Defendant-
Intervenor. Also on the brief were Alan H. Price and John R. Shane.
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       Kelly, Judge: %HIRUH WKH FRXUW LV SODLQWLIIV dRODNRùOX 0HWDOXUML $6·V DQG

dRODNRùOX 'LV 7LFDUHW $6·V FROOHFWLYHO\ ´dRODNRùOX”) motion for judgment on the

agency record pursuant to U.S. Court of International Trade Rule 56.2. >dRODNRùOX·V@

Mot. for J. on Agency R., Jan. 26, 2021, ECF No. 22- ´3O0RWµ ; see also [Pl. Mot.]

and Memo. of Law in Supp. of [Pl. Mot.], Jan. 26, 20 (&) 1R  ´3O %Uµ .

dRODNRùOXDVNVWKHFRXUWWRUHMHFWWKH86'HSDUWPHQWRI&RPPHUFH·V ´&RPPHUFHµ 

LPSRVLWLRQ RI D FRXQWHUYDLOLQJ GXW\ ´&9'µ  RQ dRODNRùOX SXUVXDQW WR &RPPHUFH·V

final results of its fourth administrative review of Steel Concrete Reinforcing Bar

From the Republic of Turkey, 79 Fed. Reg. 65, 'HS·WRI&RPPHUFH1RY 

>&9'@ RUGHU     ´Rebar from Turkey”). Pl. Br. at 2, 10; see also Steel Concrete

Reinforcing Bar from the Republic of Turkey)HG5HJ, 'HS·WRI Commerce

-XO\    ILQDO UHVXOWV DQG SDUWLDO UHVFLVVLRQ RI >&9'@ DGPLQ. review; 2017),

PD138, 1 ECF No. 19- ´Final Results”), and accompanying Issues and Decision

Memo., C--819 -XO\ , PD135, ECF No. 19- ´Final Decision Memo”).

       SpecifiFDOO\ dRODNRùOX argues that Commerce’s decision to pull forward

dRODNRùOX·V&9'UDWHIURP&RPPHUFH·VSULRUDGPLQLVWUDWLYHUHYLHZZDVFRQWUDU\WR

ODZLQWKDWDFFRUGLQJWRdRODNRùOX&RPPHUFHZDVREOLJDWHGWRFDOFXODWHdRODNRùOX·V

rate by averaging the de minimis rates of the two mandatory respondents. Pl. Br. at



1 On October 21, 2020, Defendant filed indices to the public and confidential
administrative records underlying Commerce’s final determination. See ECF No. 19-
1–2. Citations to administrative record documents in this opinion are to the numbers
Commerce assigned to such documents in the indices, and all references to such
documents are preceded b\´3'µor ´&'µWRGHQRWHSXEOLFRUFRQILGHQWLDOGRFXPHQWV
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5–8; see also 5HSO\%URI>dRODNRùOX@–-XQH(&)1R ´5HSO\%Uµ 

dRODNRùOX IXUWKHU DVVHUWV WKDW its rate is unsupported by substantial evidence

because the record lacks any information that would support the imposition of its

rate. Pl. Br. at 8–10; Reply Br. at 6–9.

      Defendant United States and Defendant-Intervenor Rebar Trade Action

&RDOLWLRQ ´57$&µ oppose the motion on the grounds that Commerce could use any

reasonablH PHWKRG WR FDOFXODWH dRODNRùOX·V UDWH DYHUDJLQJ WKH PDQGDWRU\

respondents’ de minimis rates would not have been reasonably reflective of

dRODNRùOX·V DFWXDO UDWH and Commerce followed its past practice in pulling

dRODNRùOX·VUDWHIRUZDUGIURPWKHSULRUDdministrative review. See Def.’s Resp. to

[Pl. Mot.], 5–0D\(&)1R ´'HI%Uµ ; [RTAC’s] Resp. Br., 7–11, May

(&)1R ´57AC Br.”). Defendant further argues that dRODNRùOX·V rate

is supported by substantial evidence becausHdRODNRùOXpreviously availed itself of a

subsidy program in the prior administrative review and offers no evidence that it has

stopped using that program. Def. Br. at 12–13; see also RTAC Br. at 11–13.

      For the following reasons, Commerce’s Final Results are sustained.

                                  BACKGROUND

      &RPPHUFH SXEOLVKHG D &9' RUGHU FRYHULQJ VWHHO FRQFUHWH UHLQIRUFLQJ EDU

´UHEDU” IURPWKH5HSXEOLFRI7XUNH\ ´7XUNH\µ RQ1RYHPEHUSee Rebar

from Turkey. Commerce administratively reviewed Rebar from Turkey on an annual

basis IRUWKH\HDUVDQGSULRUWRLQLWLDWLQJWKHIRXUWKDGPLQLVWUDWLYH
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review, which is the subject of this action. See [Rebar] from [Turkey], 82 Fed. Reg.

26, 'HS·W RI &RPPHUFH -XQH    ILQDO UHVXOWV DQG SDUWLDO Uescission of

>&9'@ DGPLQ rHYLHZ   ´ )LQDO 5HVXOWV”) and accompanying Issues and

Decision Memo., C--819, bar code 3578880-01             ´ ,'0µ ; [Rebar] from

[Turkey], 83 Fed. Reg. 16,051 'HS·WRI&RPPHUFHApril 13, 2018) final results and

partial UHVFLVVLRQ RI >&9'@ DGPLQ UHYLHZ   ´2015 Final Results”) and

accompanying Issues and Decision Memo., C--819, bar code 3692588-01 ´

IDM”); [Rebar] from [Turkey])HG5HJ, 'HS·WRI&RPPHUFH-XO\)

final results and partiaO UHVFLVVLRQ RI >&9'@ DGPLQ UHYLHZ   ´2016 Final

Results”) and accompanying Issues and Decision Memo., C--819, bar code

3866067-01 ´6 IDM”); see also Final Results.

      In two of three prior administrative reviews, Commerce selected dRODNRùOX as

a mandatory respondent, but did not select it as a mandatory respondent in the fourth

administrative review. See )LQDO5HVXOWV, 82 Fed. Reg. at 26, dRODNRùOXQRW

selected as mandatory respondent); 2015 Final Results, 83 Fed. Reg. at 16,051–52

dRODNRùOXVHOHFWHGDVPDQGDWRU\UHVSRQGHQW ; 2016 Final Results, 8 Fed. Reg. at

36,051 dRODNRùOX VHOHFWHG DV PDQGDWRU\ UHVSRQGHQW  Memo. from C. Monks to E.

<DQJUH>5HEDU@IURP>7XUNH\@5HVSRQGHQW6HOHFWLRQLQ>&9'@$GPLQ5HYLHZIRU

2017, 1–3, PD2&'EDUFRGHV-01, 3830691-01 0D\  ´5HVSRQGHQW

Selection Memo”). ,QERWKWKHDQGDGPLQLVWUDWLYHUHYLHZVRIRebar from

TurkeydRODNRùOXUHFHLYHGGHPLQLPLVUDWHVSee )LQDO5HVXOWV, 82 Fed. Reg.
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at 26,908; 2015 Final Results, 83 Fed. Reg. at 16,051–53. ,QWKHDGPLQVLWUDWLYH

review, Commerce assigned all non-selected respondents de minimis rates because

all mandatory respondents received de minimis rates. )LQDO5HVXOWV, 82 Fed.

Reg. at 26,908–09. In the 2015 administrative review, Commerce determined that

dRODNRùOX purchased natural gas from Born Hatlan Ile Petrol Tasima A.S.

´%27$6µ  D VWDWH-run company through which the Turkish government provides

subsidies to Turkish companies by selling natural gas for less than adequate

UHPXQHUDWLRQ ´/7$5µ . 2015 Final Results; 2015 IDM at 5; see also Final Decision

Memo at 13, 35. However, Commerce determined that dRODNRùOXSDLGPDUNHWUDWHV

and thus was not subject to countervailing duties. 2015 Final Results; 2015 IDM at

5, 15. ,Q WKH  DGPLQLVWUDWLYH UHYLHZ &RPPHUFH DJDLQ IRXQG WKDW dRODNRùOX

SXUFKDVHGQDWXUDOJDVIURP%27$6EXWDOVRGHWHUPLQHGWKDWdRODNRùOXSXUFKDVHG

the gas for LTAR. 2016 Final Results; 2016 IDM at 8. Therefore, Commerce assigned

dRODNRùOXD&9'UDWHIRUWKHDGPLQLVWUDWLYHUHYLHZ2016 Final Results,

)HG5HJat 36,052.

      dRODNRùOX QRZ EULQJV WKLV FKDOOHQJH WR WKH Final Results of the fourth

administrative review of Rebar from Turkey, which covers the period of January 1,

WKURXJK'HFHPEHU WKH´325µ . Pl. Br. at 1; see also Final Results, 85

)HG5HJDW,353. dRODNRùOX, which was not selected as a mandatory respondent,

VSHFLILFDOO\FKDOOHQJHV&RPPHUFH·VGHFLVLRQWRDVVLJQWRdRODNRùOXDVXEVLG\

rate when both examined respondents received de minimis rates. Pl. Br. at 3––
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9; Final Results, 85 Fed Reg. at ,355. &RPPHUFH FDOFXODWHG dRODNRùOX·V rate by

SXOOLQJIRUZDUGdRODNRùOX·VUDWHIURPWKHDGPLQLVWUDWLYHUHYLHZ)LQDO'HFLVLRQ

0HPR DW   +RZHYHU dRODNRùOX DUJXHV WKDW the statutory scheme precludes

&RPPHUFHIURPSXOOLQJIRUZDUGdRODNRùOX·VSULRUUDWHDQG that there is no record

evideQFH WR VXSSRUW WKH  UDWH EHFDXVH dRODNRùOX ZDV QRW VHOHFWHG DV D

mandatory respondent and thus the record is devoid of any company-specific

LQIRUPDWLRQWRVXSSRUWdRODNRùOX·VUDWH. Pl. Br. at 8–10; Reply Br. at 6–7. For the

following reasons, CommerFH·V GHFLVLRQ WR DVVLJQ dRODNRùOX D  &9' UDWH LV

sustained.

                 JURISDICTION AND STANDARD OF REVIEW

       This court has jurisdiction pursuant to section 516A of the Tariff Act of 1930,

DVDPHQGHG86&D D  % LLL  8), 2 and 28 U.S.C. §  F  8),

which grant the court authority to review actions contesting the final determination

in an administrative review of a &9' order. The court will uphold Commerce’s

GHWHUPLQDWLRQ XQOHVV LW LV ´XQVXSSRUWHG E\ VXEVWDQWLDO HYLGHQFH RQ WKH UHFRUG or

RWKHUZLVHQRWLQDFFRUGDQFHZLWKODZµ86&D E  % L 

                                     DISCUSSION

       7KHUH DUH WZR LVVXHV EHIRUH WKH FRXUW  )LUVW dRODNRùOX FRQWHQGV WKDW

Commerce acted contrary to ODZE\DVVLJQLQJdRODNRùOXD&9'UDWHEHFDXVH




2 Further citations to the Tariff Act of 1930, as amended, are to the relevant
provisions of Title 19 of the U.S. Code, 2018 edition.
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Commerce was obligated to calculate its rate pursuant to the so-FDOOHG ´H[SHFWHG

method” set forth in the Uruguay Round Agreements Act, Statement of

Administrative Action, H.R. Doc. No. 103-YRO,DW  UHSULQWHGLQ

86&&$1 ´6$$µ . See PO%UDW6HFRQGdRODNRùOXDVVHUWVWKDW

even if Commerce did not err as a matter of law, the &9'UDWHLVQRWVXSSRUWHG

by substantial evidence on the record. Id. at 9. Defendant and RTAC each argue that

dRODNRùOXPLVLQWHUSUHWVWKHUHOHYDQWODZ, that the expected method is only presumed

LQ WKH FRQWH[W RI DQWLGXPSLQJ GXW\ ´$''µ  LQYHVWLJDWLRQV and that the statute

empowers &RPPHUFH WR XVH DQ\ UHDVRQDEOH PHWKRG WR FDOFXODWH dRODNRùOX·V UDWH

Def. Br. at 6–12; RTAC Br. at 7–11.       Defendant and RTAC further argue that

Commerce reasonably chose not to use the ADD expected method in calculating

dRODNRùOX·V UDWH EHFDXVH WKH PDQGDWRU\ UHVSRQGHQWV· UDWHV ZHUH QRW UHDVRQDEO\

UHSUHVHQWDWLYHRIdRODNRùOX’s experience LQOLJKWRIdRODNRùOX·VKLVWRU\RISXUFhasing

gas from BOTAS for LTAR. Def. Br. at 11; RTAC Br. at 11. Finally, Defendant and

57$&DUJXHWKDW&RPPHUFH·VUDWHIRUdRODNRùOXLVVXSSRUWHGE\VXEVWDQWLDOHYLGHQFH

because it is based on the 2016 Final Results. Def. Br. at 12–13; RTAC Br. at 11–13.

I.    Commerce’s Methodology

      ,QD&9'DGPLQLVWUDWLYHUHYLHZ&RPPHUFHJHQHUDOO\FDOFXODWHVWKHUDWHIRU

companies that are not individually examined by calculaWLQJWKH´ZHLJKWHGDYHUDJH

countervailable subsidy rates established for exporters and producers individually

investigated, excluding any zero and de minimis countervailable subsidy rates, and
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any rates entirely determined [using facts otherwise available].”               19 U.S.C.

§ 1671d F  $ L +RZHYHUZhen all mandatory respondents in an administrative

UHYLHZ RI D &9' RUGHU DUH DVVLJQHG GH PLQLPLV UDWHV &RPPHUFH ´PD\ XVH DQ\

reasonable method to establish [rates] for exporters and producers not individually

investigated, including averaging the weighted average countervailable subsidy rates

determined for the exporters and producers individually investigated.”                   Id.

§ G F  $ LL  The SAA reiterates that ´>Z@KHUH WKH FRXQWHUYDLODEOH VXEVLG\

rates for all exporters and producers examined are zero or de minimis . . . [19 U.S.C.

G F  $ LL @DXWKRUL]HV&RPPHUFHWRXVHDQ\UHDVRQDEOHPHWKRGµWRFDOFXODWH

rates for non-examined companies. 3 6$$DW

       Despite the apparently broad discretion the statute grants to Commerce in

calculating non-examined companies’ rates when all examined respondents are

DVVLJQHG GH PLQLPLV UDWHV DV LV WKH FDVH KHUH dRODNRùOX SRLQWV WR WKH VLPLODU

provisions of the Tariff Act of 1930 which cover antidumping investigations to argue

that Congress also imposed a reqXLUHPHQWWKDW&RPPHUFHXVHDQ´H[SHFWHGPHWKRGµ

in such situations LQ&9'LQYHVWLJDWLRQVDQGUHYLHZV. See Pl. Br. at 6–7 FLWLQJ

86&  G F  A)  and SAA at 873); see also Reply Br. at 3–5. Although




3 7KH 6$$ ´VKDOO EH UHJDUGHG DV DQ DXWKRULWDWLYH H[SUHVVLRQ E\ WKH 8QLWHG 6WDWHV
concerning the interpretation and application of the Uruguay Round Agreements and
this Act in any judicial proceeding in which a question arises concerning such
interpretation RUDSSOLFDWLRQµ86& G 
 dRODNRùOXFLWHV86&G F  $ EXWWKHUHOHYDQWVXEVHFWLRQLV86&

G F  % 
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dRODNRùOX is correct that the sections of the Tariff Act of 1930 applicable to

Commerce’s calculations of non-VHOHFWHGUHVSRQGHQWV·$''DQG&9'UDWHVZKHQDOO

mandatory respondents receive de minimis rates are nearly identical, the

corresponding explanations of those sections in the SAA are not. Compare 19 U.S.C.

 G F  $ LL  &9'V  with id.  G F  %  $''V  compare 6$$ DW 

&9'V with id. DW $''V 

      Both sections of the U.S. Code state that when all mandatory respondents

receive de minimis UDWHV &RPPHUFH ´PD\ XVH DQ\ UHDVRQDEOH PHWKRG WR HVWDEOLVK

the estimated all-others rate for exporters and producers not individually examined,

LQFOXGLQJ DYHUDJLQJ WKH HVWLPDWHG ZHLJKWHG DYHUDJH >&9'$''@ PDUJLQV

determined for the exporters and producers individually examined.”                 Id.

 G F  $ LL  DQG G F  %  However, the SAA provides that, in the

antidumping context, when all mandatory respondents receive a de minimis rate,

      [t]he expected method [for calculating an all-others rate] will be to
      weight-average the zero and de minimis margins and margins
      determined pursuant to the facts available, provided that volume data
      is available. However, if this [expected] method is not feasible, or if it
      results in an average that would not be reasonably reflective of potential
      dumping margins for non-investigated exporters or producers,
      Commerce may use other reasonable methods.

SAA at 873. Although the SAA does not contain any similar language regarding an

expected method for calculating all otKHUV UDWHV LQ WKH &9' FRQWH[W dRODNRùOX

nonetheless contends that because the sections of the U.S. Code governing

Commerce’s role in calculating an all-others rate when all mandatory respondents
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receive de minimis rates are so similar, the court should read into the SAA’s section

on all-RWKHUV&9'UDWHVWKHVDPHH[SHFWHGPHWKRGLQFOXGHGLQWKH$''FRQWH[W3O

Br. at 6–7; Reply Br. at 3–5.

      &RQWUDU\WRdRODNRùOX·VDUJXPHQWWKDWWKH6$$FRQWDLQVDQH[SHFWHGPHWKRG

in the ADD context and not in WKH &9' FRQWH[W GHPRQVWUDWHV WKDW WKHUH LV QR

H[SHFWHGPHWKRGLQWKH&9'FRQWH[W&RQJUHVVFRXOGKDYHHDVLO\LQFOXGHGWKHVDPH

language in both sections or even combined the sections into one if it had intended to

place the exact same restrictions on Commerce in both contexts. Instead, Congress

chose to elucidate an expected method of calculating an all-others rate when all

mandatory respondents receive de minimis rates only in the ADD context. Compare

SAA at 873 with id. DW:KHUH&Rngress chooses to include certain language in

one section of a statute and not in another similar section, courts must interpret that

choice as intentionally excluding the wording where it is absent. See, e.g., I.N.S. v.

Cardoza-Fonseca  86    . Although the relevant sections of the

U.S. Code are quite similar, the SAA is the authoritative interpretation of those

sections of Code, and there is an explicit difference in the SAA’s description of how

Commerce may calculate all-RWKHUVUDWHVLQWKH&9'FRQWext as opposed to the ADD

context. Compare  86&  G F  $ LL  &9'V  with id.  G F  % 

$''V compare 6$$DW &9'V with id. DW $''V  Even though the SAA

is not a statute, it is reasonable to interpret the explicit difference between the ADD
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DQG&9'VHFWLRQVRIWKH6$$LQDFFRUGDQFHZLWKWKHWUDGLWLRQDOFDQRQRIstatutory

construction that the difference is intentional. Cardoza-Fonseca86DW

      Such an interpretation reflects the GLIIHUHQFHV EHWZHHQ $'' DQG &9'

investigations. As Commerce explains, as opposed to an ADD investigation in which

&RPPHUFH DQDO\]HV FRPSDQLHV· ´SULFLQJ EHKDYLRUµ LQ D &9' LQYHVWLJDWLRQ,

´&RPPHUFH·V FRQFHUQ LV ZLWK JRYHUQPHQW VXEVLGL]DWLRQ DQG WKH H[WHQW to which

different companies may use or benefit from subsidy programs.” Final Decision

0HPRDW7KXV&9'UDWHVGHSHQGRQLQGLYLGXDOFRPSDQLHV’ use of specific subsidy

programs. In the ADD context, on the other hand, Commerce must assess pricing

behavior based on a comparison between U.S. prices and the respondent’s home

country prices. Id.; see also 86&E D 7KHGLIIHUHQWLQTXLULHV&RPPHUFH

PXVWPDNHLQWKH$''DQG&9'FRQWH[WVVXSSRUW&RPPHUFH·VLQWHUSUHWDWLRQRIWKH

SAA’s differing explanations for how to calculate rates for non-selected respondents.

      dRODNRùOXDUJXHs that the relevant provisions of the U.S. Code and the SAA

are ambiguous. Pl. Br. at 5–8. However, even if that were true, unless Commerce’s

interpretation of the Tariff Act of 1930 and the SAA is unreasonable, the court will

defer to Commerce. See Chevron, U.S.A., Inc. v. Natural Resources Def. Council

86  –   To the extent any ambiguity exists as a result of the

differing explanations in the SAA, Commerce’s interpretation of Congress’ decision

not to include the requirement to first consider using the ADD expected method in

WKH&9'SURYLVLRQWRPHDQWKDW&RPPHUFHZDVQRWUHTXLUHGWRXVHWKHADD expected
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method is reasonable. That Congress wrote the two sections differently is reason

enough to interpret the sections as imposing different requirements on Commerce.

7KHGLIIHUHQFHVEHWZHHQ$''DQG&9'LQYHVWLJDWLRQVfurther support Commerce’s

interpretation. Moreover, Congress provided in both the Tariff Act of 1930 and the

SAA that Commerce may ´XVHDQ\UHDVRQDEOHPHWKRGµLQWKH&9'FRQWH[WZLWKRXW

any reference to a specific method. See 19 U.S.C. § G F  $ LL  6$$ DW

Thus, absent a specific indication to the contrary, as there is in the ADD context, it

is reasonable to conclude that Commerce is not bound to use any particular

PHWKRGRORJ\LQWKH&9'FRQWH[WRQO\WKDWWKHFKRVHQPHWKRGRORJ\EHUHDVRQDEOH

      Neither of the cases that dRODNRùOX FLWHV FKDQJH WKLV DQDO\VLV EHFDXVH each

FDVHdRODNRùOXFLWHVLQVXSSRUWRIUHVWULFWLQJ&RPPHUFHWRWKH ADD expected method

LQWKH&9'FRQWH[Wrelates to $''VQRW&9'VSee Albemarle Corp. v. United States,

)G )HG&LU Changzhou Hawd Flooring Co. v. United States

)G )HG&LU dRODNRùOXKDVQRWLGHQWLILHGDQ\FDVHZKHUH&RPPHUFH

has been required to follow the ADD H[SHFWHGPHWKRGLQWKH&9'FRQWH[W7KHUHIRUH

Commerce’s interpretation that it is not obligated to use or consider using the ADD

expected method LQWKH&9'FRQWH[WLVUHDVRQDEOH.

      Furthermore, that Commerce used the ADD expected method in the )LQDO

Results does not require Commerce to do so now. See Final Decision Memo at 31.

Commerce’s reliance here on the 2016 Final Results for a rate renders it reasonably

GLVFHUQLEOHWKDW&RPPHUFHGLVWLQJXLVKHGLWVFKRLFHLQWKHDGPLQLVWUDWLYHUHYLHZ
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EHFDXVHLQWKHDGPLQLVWUDWLYHUHYLHZWKHUHZDVQRSUHYLRXVO\FDOFXODWHGQRQ-de

PLQLPLVUDWHIURPdRODNRùOXWRSXOOIRUZDUGCompare )LQDO5HVXOWV, 82 Fed.

Reg. at 26,908–09, with Rebar from Turkey)HG5HJDW–7REHVXUH

the ADD expected method may be a reasonable way to calculate an all-others rate, as

it was for the )LQDO5HVXOWV. But the reasonableness of Commerce’s methodology

LQWKHUHYLHZGRHVQRWUHQGHULWVPHWKRGRORJ\XQUHDVRQDEOHin this review, nor

does it constrain Commerce where Commerce encounters a new context supporting a

different approach. See 86&G F  $ LL 6$$DW

      Moreover, even if the statute obligated Commerce to consider using the ADD

expected method for calculation of all-others rates in the &9' context, Commerce

VXIILFLHQWO\ H[SODLQHG WKDW FDOFXODWLQJ dRODNRùOX·V UDWH XVLQJ WKH ADD expected

method of averaging the mandatory respondents’ de minimis rates would not be

UHDVRQDEO\UHIOHFWLYHRIdRODNRùOX·VDFWXDO&9'UDWH)LQDO 'HFLVLRQ0HPRDW–35.

Commerce found that neither mandatory respondent purchased natural gas for

LTAR from the BOTAS program during the POR or in the prior review. Id. Yet there

is no dispute that the BOTAS program to sell natural gas for LTAR still exists. See

id. DWdRODNRùOXGLGQRWSURYLGHDQ\HYLGHQFHWKDWLWQRORQJHUSXUFKDVHVQDWXUDO

gas from BOTAS for LTAR. Id. DW–35; see 49')RRG&RY8QLWHG6WDWHV, 658

)G )HG&LU LWLVWKHSDUWLHV·REOLJDWLRQWRGHYHORSWKe record, not

&RPPHUFH·V %HFDXVH&9'UDWHVGHSHQGXSRQWKHVSHFLILFVXEVLG\SURJUDPVXVHG

and dRODNRùOXKDGDKLVWRU\RISXUFKDVLQJQDWXUDOJDVIURP%27$6GXULQJWKHWZR
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prior reviews, both for market rates and for LTAR, Commerce concluded that the

mandDWRU\UHVSRQGHQWV·UDWHVZRXOGQRWUHDVRQDEO\UHIOHFWdRODNRùOX·VUDWHFinal

'HFLVLRQ0HPRDW–35. Thus, even if Commerce was obligated to consider using

the ADD expected method, it adequately explained why using the ADD expected

method was not UHDVRQDEO\ UHIOHFWLYH RI dRODNRùOX·V UDWHin this case. See SAA at

873.

       Not being bound to use the ADD expected method and, in any case, having

sufficiently explained why the ADD expected method would not lead to a rate

UHDVRQDEO\UHIOHFWLYHRIdRODNRùOX·s actual rate, Commerce was entitled to use any

UHDVRQDEOHPHWKRGWRFDOFXODWHdRODNRùOX·VUDWH86&1671d F  $ LL 6$$

DW   &RPPHUFH H[SODLQHG WKDW LW GHWHUPLQHG WKDW ´D UHDVRQDEOH PHWKRGµ WR

calculate all-RWKHUV UDWHV LQ WKH &9' FRQWH[W where all mandatory respondents

UHFHLYHGHPLQLPLVUDWHV´LVWRDVVLJQWRWKHQRQ-selected respondents the average of

the most recently determined rates that are not zero, de minimis, or based entirely

on facts available.” 5 )LQDO'HFLVLRQ0HPRDWComPHUFHIXUWKHUH[SODLQHGWKDW´LI

a non-selected respondent has its own calculated rate that is contemporaneous with

or more recent than such previous rates, Commerce has found it appropriate to apply

that calculated rate to the non-selected respondent, even when that rate is zero or de

minimis.” Id.



5Commerce calculated the rates for the other non-selected respondents in this review
by averaging the non-de minimis rates calculated during the 2016 review. The all-
RWKHUVUDWHIRUWKRVHFRPSDQLHVLVId. DW
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      Given that Commerce will generally not have any company-specific

information about non-selected respondents and the broad statutory authority to use

´DQ\UHDVRQDEOHPHWKRGµWRFDOFXODWHUDWHVZKHQWKHPDQGDWRry respondents received

de minimis rates, the court concludes that Commerce’s chosen method is reasonable.

Only mandatory respondents are required to respond to Commerce’s requests for

information. See 19 U.S.C. § 1677f- H &)5 F  Therefore, unless

non-selected respondents voluntarily supply information to Commerce, which

Commerce can either accept or decline, the only information on the record would be

the information that led Commerce to assign de minimis rates to the mandatory

respondents. See id. § 1677f- H 19 C.F.R. §  G . Thus, by specifically carving

out an exception to the general rule that Commerce should calculate all-others rates

by using a weighted average of the mandatory respondents’ rates for situations such

as this when all mandatory respondents receive de minimis rates, see 19 U.S.C.

G F  $ L – LL Congress contemplated Commerce pulling forward previously

determined rates. In light of this record, it is reasonable for Commerce to use the

most recent company-VSHFLILF LQIRUPDWLRQ WR FDOFXODWH dRODNRùOX·V UDWH  See Final

'HFLVLRQ0HPRDW–35.

II.   Evidence Supporting Commerce’s Rate

      dRODNRùOXDUJXHVWKDWHYHQLI&RPPHUFH·VPHWKRGLQFDOFXODWLQJdRODNRùOX·V

rate was reasonable, the record does not VXSSRUWD&9'UDWHIRUWKLV325 Pl.

Br. at 8–10. Defendant and RTAC assert that any lack of record evidence stems from
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dRODNRùOX·V IDLOXUH WR VHHN YROXQWDU\ UHVSRQGHQW VWDWXV RU RWKHUZLVH attempt to

populate the record. Def. Br. at 13; RTAC Br. at 12. In any case, Defendant and

RTAC contend that Commerce need not have relied on any evidence other than the

2016 Final Results EHFDXVHWKHUHZDVQRHYLGHQFHLQGLFDWLQJWKDWdRODNRùOX no longer

purchased natural gas from BOTAS for LTAR. Def. Br. at 13; RTAC Br. at 12. For

WKHIROORZLQJUHDVRQV&RPPHUFH·VGHFLVLRQWRDVVLJQdRODNRùOXD&9'UDWHLV

supported by substantial evidence.

      &RPPHUFHGHWHUPLQHGWKDWdRODNRùOXXWLOL]HGDsubsidy program provided by

the Turkish government by purchasing natural gas from BOTAS in both 2015 and

2016. See 2015 IDM at 5, 10; 2016 IDM at 8, 16. Commerce explained that in the

absence of evidence to the contrary, Commerce will assume that a company continues

to avail itself of subsidy programs that it has been found to have previously used.

Final Decision Memo at +HUHdRODNRùOXRIIHUHGQRHYLGHQFHWKDWLWGLVFRQWLQXHG

its use of the BOTAS subsidy program, or that it continued to purchase natural gas

from BOTAS but for adequate remuneration. See id. at –35dRODNRùOXGRHVQRW

dispute that it failed to offer any evidence to contradict Commerce’s rate. Pl. Br. at

9. ,QVWHDGdRODNRùOX claims that it was not obligated to place any information on

the record and that in the absence of any company-specific information Commerce

was prohibited from looking to past reviews and instead was obligated to use the

H[SHFWHG PHWKRG ZKLFK dRODNRùOX asserts is the only reasonable method in the

absence of record evidence. Id. at 9–10; Oral Argument, 18:10, October 7, 2021, see
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(&)1R ´2UDO$UJµ . This argument simply re-packages dRODNRùOX·VDUJXPHQW

that Commerce’s method was contrary to law and is therefore rejected for the same

reasons.

       Moreover, the obligation to populate the record is the parties’, not Commerce’s.

49' )RRG &R  )G DW   dRODNRùOX FRQFHGHG DV PXFK DW RUDO DUJXPHQW

Oral Arg. at 21:0. 1RQHWKHOHVVdRODNRùOXadmits that it did not even attempt to

place any relevant information on the record. Oral Arg. at 16:. The U.S. Court of

Appeals for the Federal Circuit has held that the availability of voluntarily submitted

information of non-selected respondents cautions against pulling forward a rate from

a prior review in lieu of adopting the de minimis rate of the examined respondents.

See Albemarle, 821 F.3d at 135 GUDZLQJDGLVWLQFWLRQEHWZHHQDQRQ-cooperating

party and a party that volunteered for investigation and tried to submit data but was

rejected in both instances by Commerce); Changzhou Hawd Flooring Co. v. United

States)G– )HG&LU  ILQGLQJWKDW´HIIRUWVLQYROXQWHHULQJIRU

investigation [and providing extensive information aimed at enabling such review]

offer some reason to think that for those firms, unlike for non-volunteer firms, there

is no more need for continuing coverage than there is for individually investigated

firms” with de minimis rates). The court need not opine on whether Commerce’s

determination would be reasonable had Commerce rejected voluntarily submitted

evidence of a de minimis or lower rate. Although Commerce would not have been

required to accept or review any such information, WKH IDFW WKDW dRODNRùOX GLG QRW
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offer any leaves it unable to contest &RPPHUFH·VFRQFOXVLRQWKDWdRODNRùOXFRQWLQXHV

to purchase natural gas from BOTAS for LTAR. Although Commerce may not justify

´WKHDEVHQFHRIHYLGHQFHE\LQYRNLQJSURFHGXUDOGLIILFXOWLHVWKDWZHUHDWOHDVWLQSDUW

a creature of its own making,” Yangzhou Bestpak Gifts & Crafts Co. v. United States,

 )G   )HG &LU   WKH DEVHQFH RI HYLGHQFH ZDV entirely due to

dRODNRùOX·VIDLOXUHWRSURYLGHDQ\GDWD

      In light of the record in this case that Commerce determined that BOTAS

FRQWLQXHGWRVXSSO\QDWXUDOJDVIRU/7$5GXULQJWKH325dRODNRùOX was found to

have utilized that subsidy program in each of the prior two periods of review, and

dRODNRùOXIDLOHGWRPDNHDQ\DWWHPSWWRSODFHDQ\FRQWUDGLFWRU\LQIRUPDWLRQRQWKH

record, Commerce’s decision to pull forward dRODNRùOX·V prior rate is supported by

substantial evidence.

                                    CONCLUSION

      For the foregoing reasonsdRODNRùOX·VPRWLRQIRUMXGJPHQWXSRQWKHDJHQF\

record is denied, and Commerce’s Final Results are sustained.              Judgment for

defendant will enter accordingly.

                                                       VClaire R. Kelly
                                                       Claire R. Kelly, Judge

Dated:       December 2, 2021
             New York, New York
